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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF TEXAS nip AUG 13 PM 2:94

AUSTIN DIVISION
CLERK US DISTRICT CoURT
WESTERN DISTRICT
EMILY PROVOST § ESTERN DISTRICT OF TEXAS
§ an |
VS. § A-10-CA-388-JRN PITY
EVERETT FINANCIAL, INC. d/b/a §
SUPREME LENDING §

ORDER

Before the Court in the above-entitled and styled cause of action are Parties’ Motion for Entry
of Stipulated Judgment and Order of Dismissal with Prejudice (Clerk’s Dkt. No. 9).

ACCORDINGLY, IT IS ORDERED that Parties’ Motion for Entry of Stipulated Judgment |
and Order of Dismissal with Prejudice is GRANTED. |

IT IS FURTHER ORDERED that this cause of action and all claims asserted, or which .
could have been asserted in this cause and suit are hereby DISMISSED WITH PREJUDICE. |

IT IS FURTHER ORDERED that all pending motions are MOOT.

IT IS FURTHER ORDERED that all relief not expressly granted is DENIED.

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Signed and entered this 5 day pf August, 2010. |
JAMES R. NOWLIN
UNITED STATES DISTRICT JUDGE

   
  

 

 
